
PER CURIAM.
This is an appeal from a final order adjudicating defendant guilty entered by the Circuit Court of Volusia County, Florida. The Public Defender has filed an Anders1 motion and brief requesting leave to withdraw as counsel for appellant and representing to this court that no reversible error appears. On July 17, 1980, the Fifth District Court of Appeal gave the appellant thirty (30) days within which to file a brief on his own behalf. No such brief has been filed. The court has reviewed counsel’s brief and the record herein and no reversible error appears. The motion of the Public Defender to withdraw is hereby granted, and the adjudication of guilty is hereby
AFFIRMED.
DAUKSCH, C. J., and COBB and FRANK D. UPCHURCH, Jr., JJ., concur.

. Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).

